Case 18-19227 Doc 45-1 Filed 02/09/19 Page 1 of 1

 

 

MENDOZA
Lauryer and entreprenewr

February 8, 2019

To Whom It May Concern:

| am attorney Niorly Yesenia Mendoza Rivera, Puerto Rico Supreme Court license number 17,650.

| been representing Mr. Eyal S. Rosenstock in his divorce matter, case number ISRF 2014-00879 since
June 2018.

Our representation is a Pro Bono one and all the expenses of it, including the co-litigating lawyers that
been added to the case, are being in a pro bono basis by our firm.

If you have any questions or need any other information please feel free to contact us.

 

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